Case 2:04-cv-02522-.]DB-dkv Document 28 Filed 07/21/05 Page 1 of 2 Page|D 31

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IN THE UNITED sTATEs DISTRICT CoURT
WESTERN DISTRICT or TENNESSEE 95 JUL 31 PH 2= 1,3

 
 

AT MEMPHIS
THOM\S M. GOULD
SHARRON BESSENT, ) erisa us water collar
) W:D C»F i §§i§?‘.;i?§“il$
Plaintiff, )
)
v. ) Case No. 04-2522-BV
)
DYERSBURG STATE COMMUNITY )
COLLEGE, and DR. KAREN BOVVYER, )
lndividually and in her official capacity )
as President of Dyersburg State )
Community College, )
)
Defendants. )

 

ORDER

 

This cause having come before the Court, pursuant to LOCAL RULE 7.4, upon Defendants’
MOTION FoR A CoNTINUANCE oF JURY TR[AL, and the Ccurt finding that good cause exists for
granting of the same.

lt is therefore ORDERED, ADJUDGED, AND DECREED, that the jury trial currently
scheduled for September 19, 2005, is hereby continued and Will be rescheduled at a later date. The
Court Will schedule a status conference for the parties to consult on a mutually convenient date for
the resetting of this matter for a jury trial after consideration of Defendant’s pending Motion for

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wmata J. Daniel Bredq

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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Nashville, TN 37202--020

Honorable J. Breen
US DISTRICT COURT

